 

 

Case:19-18905-TBM Doc#:1 Filed:10/16/19

 

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United States Bankruptcy Court for the:
District of

Colorado

Entered:10/ 16/19, 10493:14 feage ofS.

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Case number (if known):

 

(State)

Chapter 11

 

 

Official Form 205

Involuntary Petition Against a Non-Individual

CL) Check if this is an
amended filing

12/15

Use this form to begin a bankruptcy case against a non-individual you allege to be a debtor subject to an involuntary case. If you want to begin
a case against an individual, use the Involuntary Petition Against an Individual (Official Form 105). Be as complete and accurate as possible. If
more space is needed, attach any additional sheets to this form. On the top of any additional pages, write debtor's name and case number (if

known).

a Identify the Chapter of the Bankruptcy Code Under Which Petition Is Filed

 

 

1. Chapter of the
Bankruptcy Code

a identify the Debtor

2, Debtor’s name

Check one:

Q Chapter 7
(ax Chapter 11

San Luis & Rio Grande Railroad, Inc., a Delaware Corporation

 

 

 

 

 

3. Other names you know
the debtor has used in
the last 8 years

Include any assumed
names, trade names, or
doing business as names.

 

 

 

 

4. Debtor's federal
Employer Identification
Number (EIN)

EIN

RK Unknown

 

5. Debtor’s address

 

Principal place of business

Mailing address, if different

 

 

 

 

 

 

 

610 State Street

Number Street Number Street
P.O. Box

Alamosa CO 81101

City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business

Alamosa

County Number Street

 

 

 

 

City State ZIP Code

 

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Involuntary Petition Against a Non-Individual

page 1

 
 

 

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San Luis & Rio Grande Railroad, Inc.

Name

Debtor Case number (known),

 

 

 

 

 

ey Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

7. Type of debtor
C1 Partnership (excluding LLP)

 

U2 other type of debtor. Specify:

 

8. Type of debtor’s

 

 

 

 

business Check one:
(LL) Health Care Business (as defined in 11 U.S.C. § 101(27A))
CJ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
S&F Railroad (as defined in 11 U.S.C. § 101(44))
(C Stockbroker (as defined in 11 U.S.C. § 101(53A))
QC) Commodity Broker (as defined in 11 U.S.C. § 101(6))
(J Clearing Bank (as defined in 11 U.S.C. § 781(3))
C2 None of the types of business listed.
(CJ Unknown type of business.
9. To the best of your 4 No
knowledge, are any
bankruptcy cases LJ Yes. Debtor Relationship
pending by or against .
any partner or affiliate District Date filed aM7DD7 Case number, if known,
of this debtor?
Debtor Relationship
District Date filed Case number, if known,
MM/DD/YYYY
Report About the Case
10. Venue Check one:

XX Over the last 180 days before the filing of this bankruptcy, the debtor had a domicile, principal place of
business, or principal assets in this district longer than in any other district.

QlA bankruptcy case concerning debtor's affiliates, general partner, or partnership is pending in this district.

 

11. Allegations Each petitioner is eligible to file this petition under 11 U.S.C. § 303(b).
The debtor may be the subject of an involuntary case under 11 U.S.C. § 303(a).

At least one box must be checked:

4 The debtor is generally not paying its debts as they become due, unless they are the subject of a bona
fide dispute as to liability or amount.

X&) within 120 days before the filing of this petition, a custodian, other than a trustee, receiver, or an
agent appointed or authorized to take charge of less than substantially all of the property of the
debtor for the purpose of enforcing a lien against such property, was appointed or took possession.

 

 

12. Has there been a Al No

transfer of any claim
against the debtor by or (C Yes. Attach all documents that evidence the transfer and any statements required under Bankruptcy

to any petitioner? Rule 1003(a).

 

 

 

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San Luis & Rio Grande Railroad, Inc.

Name

Debtor

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Case number (known)

 

 

Nature of petitioner’s claim

 

 

 

 

 

 

 

 

43. Each petitioner’s claim Name of petitioner Amount of the claim
any Hen
The San Luis Central Railroad Co. Services provided 5 123,456.41
South Middle Creek Road Association Judgment for breach of contract $ 150,000.00
Raico, LLC Judgment for unpaid lease $ 824,168.03

 

 

Total of petitioners’ claims s 1,097.614.44

If more space is needed to list petitioners, attach additional sheets. Write the alleged debtor's name and the case number, if known, at
the top of each sheet. Following the format of this form, set out the information required in Parts 3 and 4 of the form for each

additional petitioning creditor, the petitioner's claim, the petitioner's rep

resentative, and the petitioner's attorney. Include the

statement under penalty of perjury set out in Part 4 of the form, followed by each additional petitioner’s (or representative's) signature,

along with the signature of the petitioner's attorney.

Request for Relief

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Petitioners request that an order for relief be entered against the debtor under the chapter of 11 U.S.C. specified in this petition. If a

petitioning creditor is a corporation, attach the corporate ownership statement

required by Bankruptcy Rule 1010(b). If any petitioner is a

foreign representative appointed in a foreign proceeding, attach a certified copy of the order of the court granting recognition.

| have examined the information in this document and have a reasonable belief that the in

Petitioners or Petitioners’ Representative

Name and mailing address of petitioner

The San Luis Central Railroad Co.
Name

 

9501 West Devon Avenue, Suite 505

 

 

Number Street
Rosemont IL 60018
City State ZIP Code

Name and mailing address of petitioner's “Haye st if any

EN wee A. BurkHAR ST

 

 

 

 

 

formation is true and correct.

Attorneys

Michael J.

Printed name

Brownstein Hyatt Farber Schreck
Firrn natne, if any

Pankow

 

 

 

410 Seventeenth Street, Suite 2200

 

 

Number Street
Denver co 80202
City State ZIP Code

Contact phone 303.223.1100  Emai!_Mpankow@pbhfs.com

 

 

 

Name
YS?| Ww D Evol AVE A SoS Bar number #21212
Number Los =
K CSE/CN l f 4... b CY] S State Colorado
City State ZIP Code
| declare under penalty of perjury that the foregoing is true and correct.
men x
~ ‘ Signature of attorney
x \Vore
Date signed

Signature of petitioner or representative, ie a er

MM /DD /YYYY

 

 

 

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t a Non-individual page 3

 

 
Debtor

 

 

 

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San Luis & Rio Grande Railroad, Inc.

 

Name

Case number grenown),

 

 

 

Name and mailing address of petitioner

Ralco, LLC

Name

200 S. Wacker Drive #3100
Number Street

Chicago IL 60606
City State ZIP Code

 

 

 

Name and mailing address of petitioner's representative, if any

 

Name

 

Number Street

 

City State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct.

Executedon 10/15/2019

Signature of petitioner or representative, including representative's title

Michael J. Pankow
Printed name

Brownstein Hyatt Farber Schreck
Firm name, if any

410 Seventeenth Street, Suite 2200
Number Street

Denver co 80202
City State ZIP Code

Contact phone 303.223.1100

 

 

 

 

Email Mpankow@pbhfs.com

#21212

Bar number

 

State Colorado

x

 

Signature of attomey

Dale signed
MM /DD /YYYY

 

 

Official Form 205

 

Name and mailing address of petitioner
South Middle Creek Road Association, attn: Judy Fisher

Name

30 South Middle Creek Road
Number Street

LaVeta co
City Slate

 

 

81055
ZIP Cade

 

Name and mailing address of petitioner's representative, if any

 

Name

 

Number Street

 

City State ZIP Code

i declare under penalty of perjury that the foregoing is true and correct.

Execuledon —
MM / DD IYYYY

X *see next page*

 

Signature of petitioner or representative, including representative's title

 

Pieter M. Schenkkan

Printed name
Graves Dougherty Hearon & Moody

Firm name, if any

 

 

401 Congress Ave.. Ste. 2700
Number Street

 

 

 

 

Austin TX 78701

City State ZIP Code
Contact phone 512-480-5673... pSchenkkan@gdhm.com
Bar number 17741500

State Texas

X *see next page*

 

Signature of attorney

Date signed ee
MM /DD /YYYY

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Case:19-18905-TBM Doc#:1 Filed:10/16/19 Entered:10/16/19 10:31:14 Page5 of 5

San Luis & Rio Grande Railroad, Inc. Case number i misivn
Name

Debtor

 

 

 

 

Name.and malling address’‘of petitioner .

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Printed name

ic eee Chet re Centos Douctieky Metkort ¢ Meany,

 

 

 

 

 

6 Seed id FYVIOM AE @ 8 cazle- Ra ae Firm name, if any

1 Vet zz gra 401 Conehes Ave Sure 550

any” State 3iP Code Number Street —_—-~ .
Aust TX FAY

 

ZIP Code

Name and mailing address of petitioner's representative, if an
° ° ™ ” al Ke 0 2699 Email psc honk sage
ame “ay
. Bar number / EEL! S00 d

Number Street

 

 

State

 

City State ZIP Code

| declare under penalty of perjury that the foregoing is true and correct,

Bxecuteden elisha Signdture of attorney
* \ | Shi hem Date signed /O Ne 20

Signature offiloner of of representative, including representative's title Bed OD OPP YY

 

 

 

 

Name and malting address of petitioner

 

 

Name Printed name

 

Firm name, if any

 

Number Street

 

 

 

 

 

 

 

 

 

 

Giy State ZIP Gade Number Street
: ZI

Name and mailing address of petitioner’s representative, if any Clty State P Code
Contact phone Email

Name
Bar number

Number Street
State

City State ZIP Code

.| declare under penalty of perjury that the foregoing is true and correct,

Executed on x

MM /00 /YYY Signatura of attorney

Date signed

Signature of petitioner or representative, Including representative's title MM /DD /YYYY

 

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